Case 3:97-cr-00314-HES-LLL Document 289 Filed 07/25/05 Page 1 of 2 PageID 456



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

 UNITED STATES OF AMERICA,

 v.                                                     Case No. 3:97-cr-314(Sl)-J-2OTJC
                                                                 3:03-CV-347-J-20TEM
 MARK RAYMOND FORD



                                               ORDER

        Before the Court is DefendantIPetitioner Mark Raymond Ford's Motion for Certificate of

 Appealability (Doc. No. 287, filed July 22,2005).

         On April 24, 1996, the President signed into law amendments to 28 U.S.C. $$ 2244,

 2253,2254,2255, Appellate Rule 22, and 21 U.S.C. $ 848(q). As a result, this Court should

 grant an application for certificate of appealability only if the Petitioner makes a substantial

 showing of the denial of a constitutional right. To make this substantial showing, Petitioner

 "must demonstrate that the issues are debatable among jurists of reason" or "that a court could

 resolve the issues [differently]." Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983) (citation

 omitted). In addition, Petitioner could show "the questions are adequate to deserve

 encouragement to proceed further." Id.

         Specifically, where a district court has rejected a prisoner's constitutional claims on the

 merits, the petitioner must demonstrate that reasonable jurists would find the district court's

 assessment of the constitutional claims debatable or wrong. See Slack v. McDaniel, 120 S.Ct.

 1595, 1604 (2000); Hernandez v. Johnson, 2 13 F.3d 243,248 (5th Cir. 2000), cert. denied, 53 1

 U.S. 966 (2000). When the district court has rejected a claim on procedural grounds, the

 petitioner must show that jurists of reason would find it debatable whether the petition states a
Case 3:97-cr-00314-HES-LLL Document 289 Filed 07/25/05 Page 2 of 2 PageID 457



valid claim of the denial of a constitutional right and that jurists of reason would find it debatable

whether the district court was correct in its procedural ruling. Slack, 120 S.Ct. at 1604; Franklin

v. Hightower, 21 5 F.3d 1196, 1 199 ( I 1th Cir. 2000) (per curiam), a.
                                                                      denied, 532 U.S. 1009

(200 1). Here, Petitioner has failed to make the requisite showing; therefore, the Application for a

Certificate of Appealability (Doc. No. 287) is DENIED. Consequently, his Motion to Proceed in

Forma Pauperis (Doc. No. 288) is likewise DENIED.

       DONE AND ENTERED at Jacksonville, Florida, this           2 sk6Yof July, 2005.



Copies to:

Mark Raymond Ford, Pro Se
Ronald T. Henry, AUSA
